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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
___________________________________

KRISTOPHER STAMM,

                      Plaintiff,                    5:17-CV-0579 (GTS/DEP)
v.

ONONDAGA COUNTY,

                  Defendant.
___________________________________

APPEARANCES:                                        OF COUNSEL:

OFFICE OF JAMES D. HARTT                            JAMES D. HARTT, ESQ.
   Counsel for Plaintiff
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Rochester, NY 14625

HON. ROBERT A. DURR                                 CAROL L. RHINEHART, ESQ.
Onondaga County Attorney                            KAREN A. BLESKOSKI, ESQ.
   Counsel for Defendant                            JOHN E. HEISLER, JR., ESQ.
421 Montgomery Street, 10th Floor
Syracuse, NY 13202

GLENN T. SUDDABY, Chief United States District Judge

                                   DECISION and ORDER

       Currently before the Court, in this employment civil rights action filed by Kristopher

Stamm (“Plaintiff”) against Onondaga County (“Defendant”), is Defendant’s motion for

summary judgment. (Dkt. No. 14.) For the reasons set forth below, Defendant’s motion is

granted.

I.     RELEVANT BACKGROUND

       A.     Plaintiff’s Complaint

       Generally, liberally construed, Plaintiff's Complaint alleges, between approximately
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September of 2015, and December 20, 2016, in Onondaga County, New York, Defendant,

through its Department of Corrections, took adverse employment actions against, and knowingly

permitted the severe and pervasive harassment of, Plaintiff, an Asian-American corrections

officer, because of his race. (See generally Dkt. No. 1 [Plf.’s Compl.].) Generally, based on these

factual allegations, Plaintiff asserts the following two claims against Defendant: (1) a claim that

Defendant discriminated against him based on his race in violation of Title VII of the Civil

Rights Act of 1964, 42 U.S.C. § 2000e et seq. (“Title VII”); and (2) a claim that Defendant

created a hostile work environment based on his race also in violation of Title VII. (Id.)

Familiarity with these claims and the factual allegations supporting them in Plaintiff’s Complaint

is assumed in this Decision and Order, which is intended primarily for review by the parties.

(Id.)

         B.     Statement of Undisputed Material Facts

         Before reciting the material facts of this case, the Court must address four general issues

with regard to Plaintiff's response to Defendant's Statement of Undisputed Material Facts.

         First, Plaintiff’s “response” is procedurally improper in that (a) it is presented in his

affidavit (which is not even complete or signed), and (b) a copy of it is alternatively presented in

his opposition memorandum of law. A Rule 7.1 Response may not be presented in an affidavit. 1



1
         See N.D.N.Y. L.R. 7.1(a)(3) (“Each fact [in a Statement of Material Facts] shall set forth
a specific citation to the record where the fact is established [not be contained in part of the
record itself].”); Cusamano v. Sobek, 604 F. Supp.2d 416, 432 (N.D.N.Y. 2009) (“[Plaintiff’s] . .
. 40-page, 139-paragraph, single-spaced, handwritten document that attempted to serve as the
following four things at the same time: (1) a partial Rule 7.1 Response (and counter-statement of
facts); (2) a Rule 7.1 Statement of Material Facts (in support of Plaintiff's cross-motion for
summary judgment); (3) a declaration; and (4) a document containing legal arguments (including
ad hominem attacks on defense counsel). . . . Such a document is in flagrant violation of
numerous local rules. As a result, the document in question was, and is, properly disregarded by
                                                   2
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Furthermore, a Rule 7.1 Response should be separate from an opposition memorandum of law. 2

       Second, in any event, in his response, Plaintiff refuses to expressly admit or deny

numerous facts asserted by Defendant in its Rule 7.1 Statement. (See, e.g., Dkt. No. 20, Attach.

1, at ¶¶ 39, 42, 43, 44, 45, 54, 59, 60, 61, 63, 65, 70, 71, 74, 75, 76, 79, 82, 83, 90, 105, 106, 117,

118 [Pl.'s Rule 7.1 Response].) This is impermissible, 3 even when it is based on a purported




the Court.”); Zimmerman v. Burge, 06-CV-0176, 2008 WL 850677, at *14 n.64 (N.D.N.Y.
March 28, 2008) (“I note that Plaintiff's attachment of a (self-serving) affirmation at the end of
his Rule 7.1 Statement, pursuant to 28 U.S.C. § 1746, is not sufficient to transform the factual
assertions therein into factual assertions supported by record citations, as required by Local Rule
7.1. . . . As an initial matter, Local Rule 7.1 implicitly makes a distinction between a Statement
of Material Facts and the record. . . . Moreover, such a verification cannot serve as admissible
evidence in the event of trial because it fails to demonstrate how the affiant is competent to
testify to the facts he or she alleges . . . . Finally, such a verification cannot transform several of
Plaintiff's factual assertions into evidence since they are devoid of necessary specifics.”) (internal
quotation marks and citations omitted).
2
        See Wright v. Goldman Sachs & Co., 387 F. Supp. 2d 314, 318 (S.D.N.Y. 2005)
(“Although Goldman submitted a Rule 56.1 statement of undisputed facts as part of its motion
papers, Wright did not submit a separate counterstatement of disputed facts as the Local Civil
Rule requires. Moreover, contrary to the Rule, much of the discussion of facts in Wright's
memorandum of law opposing summary judgment is bereft of citations to admissible evidence,
and many of the citations which are given refer to documents that do not support Wright's factual
assertions. For these reasons, the facts set forth in Goldman's Rule 56.1 statement must be
deemed admitted.”); cf. Fox v. Lee, 15-CV-0390, 2018 WL 1211111, at *8 (N.D.N.Y. Feb. 2,
2018) (“Plaintiff failed to submit a Statement of Material Facts in conjunction with his Motion
for Summary Judgment; instead, his memorandum of law contains a ‘Facts’ section with
numbered paragraphs.”); N.D.N.Y. L.R. 7.1(a)(3) (“The opposing party shall file a [matching]
response to the [independent] Statement of Material Facts.”).
3
        See N.D.N.Y. L.R. 7.1(a)(3) (“The non-movant’s response shall mirror the movant’s
Statement of Material Facts by admitting and/or denying each of the movant’s assertions in
matching numbered paragraphs. . . . The Court shall deem admitted any properly supported facts
set forth in the Statement of Material Facts that the opposing party does not specifically
controvert.”) (emphasis in original); In re Horowitz, 14-CV-36884, 2016 WL 1039581, at *1 n.2
(Bankr. S.D.N.Y. Mar. 15, 2016) (“[A] response contending to neither admit or deny an
allegation does not create a genuine issue of fact.”).

                                                   3
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lack of knowledge of the facts. 4

        Third, although Plaintiff expressly admits the entirety of numerous facts asserted by

Defendant, he then follows those admissions with commentary for the Court’s consideration.

(See, e.g., Dkt. No. 20, Attach. 1, at ¶¶ 3, 4, 5, 6, 8, 9, 10, 11, 12, 16, 17, 23, 24, 25, 26, 31, 52,

77, 107, 115 [Pl.'s Rule 7.1 Response].) This too is impermissible, 5 regardless of whether the

commentary is intended to assert a related fact, 6 place in context or “spin” the asserted fact, 7 or


4
        See Percoco v. Lowe's Home Ctrs., LLC, 208 F. Supp. 3d 437, 440 n.2 (D. Conn. 2016)
(“Plaintiff, at various points, fails to admit or deny facts and instead states that she has ‘no
knowledge.’ . . . The Court deems those facts admitted because ‘no knowledge’ is a
noncognizable response.”); In re Horowitz, 14-CV-36884, 2016 WL 1039581, at *1 n.2 (Bankr.
S.D.N.Y. Mar. 15, 2016) (“On a motion for summary judgment, denials based on a lack of
knowledge or information sufficient to form a belief are insufficient to contest a disputed fact . . .
.”); Davis v. City of Syracuse, 12-CV-0276, 2015 WL 1413362, at *2 (N.D.N.Y. Mar. 27, 2015)
(“On a motion for summary judgment, denials of fact that are based on a lack of personal
knowledge, mere information or belief, and/or inadmissible evidence are insufficient to create a
genuine dispute.”); Eiden v. McCarthy, 531 F. Supp. 2d 333, 337-38 (D. Conn. 2008) (“With
regard to Paragraphs 17, 18, 76, 77, 80, and 81 of the Defendants' Local Rule 56(a)(1) Statement,
the Plaintiff has responded ‘Plaintiff has no knowledge.’ Such a response, however, in not
permitted under the Local Rules.”); N.Y.S. Teamsters Conference Pension and Ret. Fund v.
Doren Ave. Assoc., Inc., 321 F. Supp. 2d 435, 438 (N.D.N.Y. 2004) (“Of the 45 paragraphs in the
Fund's response to this statement, 21 are conclusory denials, 16 are denied for lack of sufficient
information, and none are accompanied by a record citation. Thus, per Local Rule 7.1(a)(3), the
factual allegations in defendants' statement of material facts may be deemed admitted.”).
5
        See CA, Inc. v. New Relic, Inc., 12-CV-5468, 2015 WL 1611993, at *2 n.3 (E.D.N.Y.
Apr. 8, 2015) (“[T]he Court will consider the statement provided by [Plaintiff] as undisputed
because [Defendant’s] initial response in each instance is, in fact, ‘Undisputed.’”); Washington v.
City of New York, 05-CV-8884, 2009 WL 1585947, at *1 n.2 (S.D.N.Y. June 5, 2009) (“[T]he
statement provided by Defendants is taken as true because Plaintiff[’]s initial response in each
instance is ‘Admit.’”).
6
        See Maioriello v. New York State Office for People With Developmental Disabilities, 272
F. Supp. 3d 307, 311 (N.D.N.Y. 2017) (“[T]hroughout Plaintiff's Rule 7.1 Response, she
‘admits’ many of the facts asserted by Defendants in their Rule 7.1 Statement but then includes
additional facts and/or legal argument in those responses. . . . Where this occurs, the Court will
deem those facts admitted and disregard the additional factual assertions and/or argument that
Plaintiff provides in her responses.”); Baity v. Kralik, 51 F. Supp. 3d 414, 417 (S.D.N.Y. 2014)
(holding that plaintiff’s response to defendant’s Rule 56.1 Statement failed to comply with the
                                                  4
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deny a perceived implication of the asserted fact. 8

        Fourth, although Plaintiff’s expressly denies, or partially denies, numerous facts asserted

by Defendant in its Rule 7.1 Statement, he fails to cite record evidence in support of those

denials. (See, e.g., Dkt. No. 20, Attach. 1, at ¶¶ 7, 13, 14, 15, 18, 19, 21, 22, 27, 28, 29, 30, 49,

55, 56, 58, 62, 66, 69, 78, 80, 81, 84, 85, 86, 89, 91, 97, 101, 104, 109, 113 [Pl.'s Rule 7.1

Response].) This too is impermissible. 9

        Having said all of that, before Defendant’s factual assertions may be deemed to have been

“admitted” by Plaintiff pursuant to Local Rule 7.1(a)(3) of the Local Rules of Practice for this


rule because “counsel neither admits nor denies a particular fact, but instead responds with
equivocal statements such as: ‘Admit, but defendant omits the balance of plaintiff's testimony’”).
7
       See Goldstick v. The Hartford, Inc., 00-CV-8577, 2002 WL 1906029, at *1 (S.D.N.Y.
Aug. 19, 2002) (striking plaintiff’s Rule 56.1 Statement, in part, because plaintiff added
“argumentative and often lengthy narrative in almost every case the object of which is to ‘spin’
the impact of the admissions plaintiff has been compelled to make”).
8
       See Yetman v. Capital Dis. Trans. Auth., 12-CV-1670, 2015 WL 4508362, at *10
(N.D.N.Y. July 23, 2015) (citing authority for the point of law that the summary judgment
procedure involves the disputation of asserted facts, not the disputation of implied facts).
9
        See N.D.N.Y. L.R. 7.1(a)(3) (“Each denial shall set forth a specific citation to the record
where the factual issues arises. The Court shall deem admitted any properly supported facts set
forth in the Statement of Material Facts that the opposing party does not specifically controvert.”)
(emphasis in original); Suares v. Cityscape Tours, Inc., 603 F. App’x 16, 16 (2d Cir. 2015)
(“Plaintiff's Local Rule 56.1 statement contained no record citations. . . . The district court
therefore acted within its discretion in denying plaintiff's motion.”); N.Y. Teamsters v. Express
Servs., Inc., 426 F.3d 640, 648-49 (2d Cir. 2005) (upholding grant of summary judgment where
“[t]he district court, applying Rule 7.1[a][3] strictly, reasonably deemed [movant’s] statement of
facts to be admitted” because the non-movant submitted a responsive Rule 7.1[a][3] statement
that “offered mostly conclusory denials of [movant’s] factual assertions and failed to include any
record citations”); Giannullo v. City of New York, 322 F.3d 139, 140 (2d Cir. 2003)
(“[U]nsupported assertions [in a Local Rule 56.1 statement] must . . . be disregarded.”); Holtz v.
Rockefeller & Co., 258 F.3d 62, 73 (2d Cir. 2001) (“A district court has broad discretion to
determine whether to overlook a party's failure to comply with local court rules . . . [and] is not
required to consider what the parties fail to point out in their Local Rule 56.1 statements . . . .”)
(internal quotation marks omitted).
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Court, those factual assertions must be (1) supported by the record evidence to which Defendant

has cited in its Rule 7.1 Statement, and (2) not contradicted by any record evidence that the Court

has come across during its review of the record (in order to verify the accuracy of Defendant’s

citations in its Rule 7.1 Statement, and verify the accuracy of Plaintiff’s citations in its Statement

of Additional Material Facts in Dispute). The following factual assertions meet those

requirements.

                                             The Parties

        1.      Kristopher Stamm (hereinafter “Plaintiff”) is of Japanese descent because his

father was Japanese. Plaintiff was hired by Commissioner Cowin of the Onondaga County

Department of Correction on September 28, 2009, and became a permanent employee on

September 26, 2010. Plaintiff holds the position of Correction Officer (hereinafter “CO”).

        2.      Before January 1, 2018, Defendant, Onondaga County (hereinafter the “County”),

operated the Onondaga County Department of Correction, which had a facility in Jamesville,

New York. On January 1, 2018, the Onondaga County Sheriff's Office took over control of the

Department of Correction and it is now known as the Onondaga County Sheriff's Office

Department of Correction (and it shall hereinafter be referred to as the “Department of

Correction” or the “Department,” and the facility shall be referred to as “Jamesville” or the

“facility”).

                           The County and the Department of Correction

        3.      The County has policies and procedures that are applicable to all

County employees, including those employed at the Department of Correction. Included in those

policies and procedures are those addressing harassment, discrimination and retaliation, and work


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rules and penalties. County employees are provided with a copy of the Onondaga County

Employees Handbook during their orientation which contains statements regarding harassment,

discrimination and retaliation, as well as work rules and penalties. Additionally, the policies and

procedures regarding harassment, discrimination and retaliation are available to all County

employees on the County intranet which is accessible to all County employees, as well as

available through the County Department of Personnel.

        4.        The County has a zero-tolerance policy for harassment, discrimination and

retaliation. 10

        5.        The Department of Correction is a paramilitary organization with a chain of

command structure from highest to lowest being Commissioner (now Chief Deputy of

Correction) (hereinafter the “Commissioner”), Asst. Commissioner (now Special Assistants to

the Chief Deputy of Correction) (hereinafter the “Asst. Commissioner”), Captain, Lieutenant,

Sergeant, Senior Officer (hereinafter “SO”) and Correction Officer (again, hereinafter “CO”).

        6.        The Department of Correction has numerous directives covering all aspects of


10
         Although he admits this fact, Plaintiff asserts that the policy “is not enforced equally. It
depends who you are.” However, he does not support that assertion with a record citation. In an
attempt to support similar assertions in his Statement of Additional Facts in Dispute, he cites
evidence that the Court finds does not controvert the above-stated fact. For example, he cites
evidence that “sometimes” an “older lieutenant who is African American” will have a “new
black officer” replace a “more veteran staff member” on a night shift; however, that evidence
does not establish that this happens when the “more veteran staff member” is non-black, or even
that the favoritism is not based on “[h]ow friendly” the preferred officer is with the lieutenant.
(Dkt. No. 14, Attach. 8, at 16-17 [pages “15” and “16” of Emm Depo. Tr.].) In addition, he cites
deposition testimony in which Corrections Officer Emm admitted that he in fact “couldn’t tell” if
racism against blacks is looked upon more harshly than is discrimination against Asians. (Dkt.
No. 14, Attach. 8, at 16-17 [pages “15” and “16” of Emm Depo. Tr.].) In any event, even if
racism against blacks were punished more severely than was harassment against Asians, that fact
would not mean that the County did not punish all instances of harassment, discrimination and
retaliation towards Asians.

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Departmental functioning. Directives are revised frequently, and all directives are reviewed on a

regular cycle by the Executive Staff, which includes the Commissioner, Assistant Commissioners

and Captains, along with the Personnel Administrator.

       7.      All Department of Correction employees are issued a Policy and Procedure

Directives Manual and are responsible for keeping them up to date during their first year. Upon

successful completion of their probationary term (which is one year in duration), they turn in

their Policy and Procedure Directives Manual. Departmental policies and procedures are all

posted on the Department intranet. Employees are required by Directive to review the

Department intranet each day for any updated policies. 11

       8.      In addition to the County’s policies and procedures regarding harassment,

discrimination and retaliation, the Department of Correction has directives regarding the issues of

harassment, discrimination and retaliation.

       9.      The Department of Correction has a zero-tolerance policy regarding

discrimination, harassment and retaliation. 12


11
        Plaintiff asserts that employees are “not given the time or allowed to review [the manual]
on a daily basis.” However, he does not support that assertion with a record citation. In an
attempt to support a similar assertion in his Statement of Additional Facts in Dispute, he cites
evidence that the Court finds does not controvert the above-stated fact. Specifically, he cites his
own deposition testimony in which he states that, in his experience, it is “hardly ever that we get
a chance to get on” the computer by which they could access the policies, and that “we have to
ask permission probably to get into a certain area where we can get access to a computer [during
a break].” (Dkt. No. 14, Attach. 7, at 31 [attaching page “30” of Plf.’s Depo. Tr.] [emphasis
added].) The Court does not find such obstacles to constitute a denial of access, nor does the
Court find that Defendants’ factual assertion expressly states that employees had unfettered
access.
12
        Although he admits this fact, Plaintiff asserts that the policy is “not enforced.” However,
he does not support that assertion with a record citation. In an attempt to support other assertions
in his Statement of Additional Facts in Dispute, he cites evidence that the Court finds does not
controvert the above-stated fact. For example, he cites evidence that a co-worker once wrote an
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        10.    Every officer and civilian employee at the Department of Correction has

mandatory annual training that includes training regarding harassment and discrimination.

        11.    The Department of Correction has a Directive setting forth the Department's

Codes of Ethics and Conduct for all Departmental employees, including directives concerning

the treatment of staff and others, refraining from conflicts of interest, refraining from

relationships which may appear to impair their ability to perform their duties, reporting violations

of the socialization policy, and refraining from harassing, and discriminating against, staff and

others. 13


objectively non-racial statement in dirt on Plaintiff’s truck, which incident was reported to and
investigated by supervisors, and resulted in the punishment of the offender, the payment of
compensation for any damage to Plaintiff’s vehicle and an opportunity for Plaintiff to press
criminal charges. (Dkt. No. 14, Attach. 7, at 58-62 [attaching pages “57” through “61” of Plf.’s
Depo. Tr.]; Dkt. No. 14, Attach. 36, at 2-4 [attaching letter of complaint and investigative
report]; Dkt. No. 14, Attach. 36, at 9 [attaching photos of truck].) He cites evidence that “jokes . .
. were constantly thrown to [him]” since 2009, but he admits that he never complained about the
jokes to superiors. (Dkt. No. 14, Attach. 7, at 63-65 [attaching pages “62” through “64” of Plf.’s
Depo. Tr.].) He cites evidence that he was called “gook” and “zipperhead” at an unspecified or
times by an unidentified individual or individuals; but that evidence does not establish that
supervisors ever knew about the slurs. (Dkt. No. 14, Attach. 7, at 168 [attaching page “167” of
Plf.’s Depo. Tr.]; Dkt. No. 14, Attach. 68, at 5 [Plf.’s Response to Interrog. No. 5]; Dkt. No. 14,
Attach. 36, at 9 [attaching photos of truck].) He cites evidence that a corrections officer recalls at
some point hearing “[s]ome Asian jokes”; but that evidence does not establish that any
supervisors knew of those jokes. (Dkt. No. 14, Attach. 9, at 11-12 [attaching pages “10” and
“11” of Tineo Depo. Tr.].) Finally, he cites evidence that, after he complained of being
“harassed” for non-racial reasons (specifically, for “screw[ing] up the count”), a co-worker said,
“Well, he’s a pretty big guy. He should be able to take all that.” (Dkt. No. 14, Attach. 7, at 71
[attaching page “70” of Plf.’s Depo. Tr.].)
13
        Although he admits this fact, Plaintiff asserts that the policy “is not enforced or
organized. Different rules apply to different people.” However, he does not support that assertion
with a record citation. In an attempt to support similar assertions in his Statement of Additional
Facts in Dispute, he cites evidence that that the Court finds does not controvert the above-stated
fact. For example, he cites (1) evidence that “sometimes” a “new black officer” is favored over
“a more veteran staff member” during a night shift, (2) evidence that Corrections Officer Emm
“couldn’t tell” if racism against blacks is looked upon more harshly than is discrimination against
Asians, and (3) evidence that evidence that since 2009 “jokes . . . were constantly thrown to
                                                  9
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       12.     The Department of Correction has a strict Socialization Directive that

prohibits social relationships between Department staff and inmates. Additionally, the Directive

prohibits, in part, Department employees from knowingly engaging in any conversations,

communications, or relationships, etc., with any inmate, former inmate, probationer, former

probationer, parolee or former parolee in any manner or form which is not necessary or proper

for the discharge of the employee's duties unless otherwise authorized by the Commissioner. The

policy requires a Department employee to report any such contact or relationships as soon as

possible, in writing, to the Security Captain through the chain-of-command. Violations of the

policy will result in disciplinary action up to and including discharge. 14

       13.     All Department of Correction employees receive yearly in-service training

regarding the requirements of the Socialization Directive. The in-service training includes a


[him].” (Dkt. No. 14, Attach. 8, at 16-17 [pages “15” and “16” of Emm Depo. Tr.].) This
evidence was found to be inapposite earlier. See, supra, notes 8 and 10 of this Decision and
Order.
14
        Although he admits this fact, Plaintiff asserts that the directive “is not applied across the
board for everyone. Different rules apply to different people.” However, he does not support that
assertion with a record citation. In an attempt to support similar assertions in his Statement of
Additional Facts in Dispute, he cites evidence that that the Court finds does not controvert the
above-stated fact. For example, he cites his own deposition testimony regarding five examples of
violations of the Socialization Policy that supposedly were dealt with less harshly: (1) one
instance in which a corrections officer had a platonic “friend” who was a former parolee,
resulting in no punishment; (2) one instance in which a corrections officer leased residential
properties to several former inmates, resulting in no punishment; (3) one instance in which a
corrections officer married someone (apparently a fellow employee) before leaving her
employment, and the “facility did nothing to her”; (4) one instance in which a corrections officer
who had a “best friend from high school” who was a former parolee, resulting in no punishment;
 and (5) one instance in which a corrections officer played on a kickball team with a former
inmate, resulting in punishment. (Dkt. No. 14, Attach. 7, at 110-13 [attaching pages “109”
through “112” of Plf.’s Depo.].) However, in addition to the fact this testimony is largely based
on hearsay, none of the asserted violations involved a current corrections officer living with and
dating a current probationer: objectively a more serious violation. (Id.) As a result, the
non-punishment of those five violations does not render the Socialization Directive non-strict.
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complete read through and review of the entire Directive. 15

        14.     The Department of Correction has a Directive concerning employees engaging in

secondary employment. The Directive sets forth the policies and procedures for staff seeking

permission to engage in secondary employment outside of their duties as Department employees,

and specifies, in part, that staff who are out sick, on sick leave, on restricted duty or disabled

shall not engage in secondary employment. 16

        15.     The Department of Correction has a Directive for Inmate Counts that

sets forth the Department's policies, guidelines and procedures for ensuring the accountability of

all inmates. The policy requires, in part, that each count be made promptly and accurately, that

during a watch change both the incoming and outgoing officers will conduct the count together

and shall both sign off on the count, and it further states that outgoing staff shall not be relieved

of duty or leave the facility until the count is verified. 17



15
       Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute. Although Plaintiff does assert in his deposition transcript that this training is
“cram[med]” into an eight-hour training period, that assertion does not controvert the
above-stated fact. (Dkt. No. 14, Attach. 7, at 38-39 [attaching pages “37” and “38” of Plf.’s
Depo. Tr.].)
16
        Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute. Although Plaintiff does assert in his deposition transcript that he thinks the enforcement
of this directive is a “gray area,” that assertion does not controvert the existence of the directive.
(Dkt. No. 14, Attach. 7, at 47-49 [attaching pages “48” and “49” of Plf.’s Depo. Tr.].)
17
        Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute. Although Plaintiff does assert in his deposition transcript that the directive is not always
“follow[ed] . . . to a T” because of a “shortage of staff,” that assertion does not controvert the
existence of the directive. (Dkt. No. 14, Attach. 7, at 122-23 [attaching pages “121” and “122” of
Plf.’s Depo. Tr.].)
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        16.     The Personnel Advisory Committee (hereinafter “PAC”) is comprised of the

Assistant Commissioners, the Captains and Personnel Administrator Romeo (hereinafter

“Romeo”). PAC reviews the reports of incidents involving personnel and makes

recommendations to the Commissioner regarding discipline. The Commissioner then decides

what discipline, if any, should be imposed. 18

        17.     In September and October 2010, several officers filed grievances concerning the

Department's decision to stop allowing officers who were on vacation for one shift work

overtime for another shift in the same day. In June 2011, an agreement was reached with the

Union that stipulated that, if an officer was on approved leave and overtime was needed on that

same day, the officer would be skipped for the first canvass of the voluntary overtime list, and

would be offered voluntary overtime for that same work day only after the remainder of the

voluntary overtime list was exhausted. To date, this stipulated policy is still in effect. 19

        18.     Prior to June 20, 2012, Department of Correction staff were permitted to convert

overtime hours into comp time hours rather than being paid for those hours. Due to a

Departmental-wide overuse of this ability to convert, on June 6, 2012, Commissioner Cowin



18
        Although he admits this fact, Plaintiff asserts that “it is not enforced equally due to
favoritism.” However, he does specify what “it” is, nor does he support the assertion with a
record citation. Nor can the Court find a citation to such an assertion in Plaintiff’s Statement of
Additional Facts in Dispute.
19
        Although he admits this fact, Plaintiff asserts, “[I]t is not enforced. Plaintiff was denied
OT on several occasions when other officers were allowed.” However, he does not support the
assertion with a record citation. Nor can the Court find a citation to such an assertion in
Plaintiff’s Statement of Additional Facts in Dispute. Although Plaintiff does assert in his
deposition transcript that Mike Romeo was “not letting [Plaintiff] work whatever overtime” he
liked, that assertion does not controvert the existence of the stipulated policy. (Dkt. No. 14,
Attach. 7, at 167 [attaching pages “166” of Plf.’s Depo. Tr.].)

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issued a memorandum to all staff advising that effective, June 20, 2012, no authorization would

be given for overtime hours to be converted to comp time, and instead, overtime hours would be

monetarily compensated. Plaintiff admits that the memo regarding overtime being paid in cash,

rather than being converted to comp time, is posted on the intranet, and that the reason the

change was made was that everyone was abusing the conversion to comp time. 20

       19.     Before 2017, firearms training for officers occurred only in April and/or May of

each year. Approximately 60% of officers were firearms qualified in any given year. In 2016, the

only officers to receive firearms training outside of the April/May window were those officers

who were newly hired on September 19, 2016. 21

       20.     Firearms are not permitted within the confines of the facility. The Response Team

is not issued firearms, and members are not required to be weapons qualified. Firearms are only

issued to qualified staff for the purposes of Transport, Perimeter Security, Arsenal Maintenance,

Front Lobby Security, and Firearms Training and Qualification, or for purposes authorized by the

Commissioner or Asst. Commissioner for Security and Operations.

       21.     Before 2017, not being firearms qualified did not affect a staff member's ability to

earn overtime. If overtime was required for a duty that required firearms qualification and a staff

member seeking (or being ordered) to work overtime was not firearms qualified, the staff

member would be assigned to an area that did not require a firearms qualified staff member and a


20
       Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute.
21
       Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute.

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firearms qualified staff member would perform the duty requiring firearms qualification. 22

       22.     The Department of Correction has a Directive regarding the Response

Team. The Directive requires, in part, that Response Team members “consistently display a

professional attitude toward staff and inmates.” Additionally, there exists a Response Team

Review Board which reviews the actions of Response Team members, and makes decisions

regarding the removal of members. 23

                             Plaintiff's Relevant Employment History

       23.     Plaintiff was hired by Commissioner Cowin as a Permanent Correction Officer

Trainee at Jamesville Correctional effective September 28, 2009. On that date, Plaintiff

acknowledged receiving the County Employees Handbook, including work rules and harassment

policies, and a copy of the harassment policy that was explained to him. On December 21, 2009,

Plaintiff signed acknowledgments that he had received copies of certain policy and procedure

Department directives, including the Code of Ethics and Conduct, Employee Rights,

Socialization, and Harassment, Discrimination and Anti-Retaliation. Additionally, Plaintiff

signed a separate acknowledgment concerning the Socialization Directive, stating that he fully

understood the policy, and that he would not engage in any conversation, communication,

dealing, transaction, association or relationship with any inmate, former inmate, probationer,


22
       Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute. Although Plaintiff does assert in his deposition transcript that on some occasions he
could not work the overtime he wanted, that assertion does not controvert the above-stated fact.
(Dkt. No. 14, Attach. 7, at 26, 167, 178 [attaching pages “25,” “166” and “177” of Plf.’s Depo.
Tr.].)
23
       Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute.
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former probationer, parolee, former parolee, or any visitor friend or relative of same.

Commissioner Cowin changed Plaintiff's job status from probationary to permanent, effective

September 26, 2010.

        24.      Plaintiff admits that he attended County employee orientation where he received a

copy of the County Employee Handbook and the County harassment policy. Plaintiff further

admits that he was aware of, and did review, the Onondaga County Internal Discrimination /

Harassment and Anti-Retaliation Policy before 2015, and that he was aware of the Onondaga

County Employee Harassment and Discrimination Complaint Form before 2013. Plaintiff also

admits to having received the copies of the Department of Correction policies on December 21,

2009, and to acknowledging that he had read and understood those policies.

        25.      Plaintiff admits to having had access, during “downtime,” to the policies of the

Department of Correction through the computers at work, and that he could also ask to see copies

Of policies.

        26.      On May 13, 2012, Plaintiff submitted an Understanding of Employment

Agreement for his outside work as a self-employed contractor doing business under the name of

KMS Contracting. By nemo dated May 14, 2012, Assistant Commissioner Blume approved

Plaintiff’s secondary employment as a self-employed contractor.

        27.      Plaintiff admits that “everybody” (except himself) “participates” in “roast[ing]

somebody” in “staff dining,” that he was “not the only individual [at the correctional facility] that

[everybody] may pick on for various reasons,” that “it’s [the] norm” there, and that it is “the

nature of the facility.” 24



24
        (Compare Dkt. No. 14, Attach. 4, at ¶ 27 [Def.’s Rule 7.1 Statement, citing page 63 of
                                               15
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       28.     CO Emm (“Emm”) believes that jokes may have been made by other officers

about Plaintiff’s Japanese heritage, but CO Emm has never witnessed any such jokes being

made. Emm believes that those jokes may have been made because officers work under stressful

conditions, so they get through the conditions by making fun of one another. Emm believes that

such jokes are not made with malicious or evil intent, and that they are just jokes. Emm has never

heard another officer refer to Plaintiff as a “gook.” Emm has never made Japanese jokes. 25

       29.     CO Tineo (“Tineo”) is of Hispanic descent. Tineo and Plaintiff would tease

Each other about their respective nationalities. Tineo has never heard Plaintiff referred to as a

“gook” (although, as of the date of his deposition, May 8, 2018, he “wouldn’t be surprised” if

someone had done so); and he does not have a specific memory of “racially insensitive” remarks

being made by others about Plaintiff’s Asian heritage other than a general memory of such

remarks being made to Plaintiff by “some other people” (which Tineo does not know “if

[Plaintiff] was okay with”) during Tineo’s and Plaintiff’s mutual teasing in the “break room.” 26


Plf.’s Deposition Tr., which, along with page 62, establishes the above-stated fact] with Dkt. No.
40, Attach. 1, at ¶ 27 [Plf.’s Rule 7.1 Response, denying Defendant’s factual assertion but failing
to provide a record cite in support of that denial].)
25
        Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute. Granted, Plaintiff does assert in his deposition transcript that (1) Emm was among the
officers who were “making jokes” at him or “roast[ing]” him, and (2) Emm drew penises in the
snow and/or dirt on his truck. (Dkt. No. 14, Attach. 7, at 59, 63 [attaching pages “58” and “62” of
Plf.’s Depo. Tr.].) However, Plaintiff nowhere asserts that the “jokes,” which were made to
“everybody” were racial in nature (much less were made by Emm); nor does Plaintiff deny the
fact that the images of penises, which were accompanied by the words “learn how to park,”
immediately followed his having (inadvertently) parked his truck in two parking spaces. (Id. at
55, 63-64 [attaching pages “54,” “62” and “63”]; Dkt. No. 14, Attach. 36, at 2-5 [attaching
complaint and report]; Dkt. No. 14, Attach. 3, at ¶ 23 [Romeo Affid.]; Dkt. No. 14, Attach. 8, at
23 [attaching page “22” of Emm. Depo. Tr.].) Simply stated, this evidence does not controvert
CO Emm’s deposition testimony that he never made Japanese jokes.

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       30.     After Plaintiff was “roast[ed]” in “staff dining,” he did not make complaints about

the “roast[ing]” because sergeants and lieutenants were present at the time and thus Plaintiff did

not know to whom to complain. 27

       31.     Plaintiff admits that his real complaint is not about what is being said, but about

what he perceives to be different treatment through harsher penalties enforced against him

partially as a result of his Japanese descent.

                                         The Truck Incident

      32.     On February 7, 2014, as Plaintiff was leaving work for the day, he noticed that

someone had drawn pictures of penises and written sayings in the dirt on his truck. After walking

around the truck, Plaintiff became angry and went to Department of Correction Human

Resources and spoke to Administrator Romeo about the incident. Romeo contacted Sgt. Frink

who went out and took pictures of the truck.

       33.     In addition to the drawings of large penises on the truck, the words “learn how to


26
        Although Plaintiff fails to support his denial that Tineo never heard Plaintiff called
racially insensitive things, the Court has come across, and will not turn a blind eye to, the portion
of Tineo’s deposition transcript in which he admits his general recollection that “some other
people” “intervened” in Tineo’s and Plaintiff’s mutual racial banter in the break room “and said
stuff,” which Tineo did not know “if [Plaintiff] was okay with.” (Dkt. No. 14, Attach. 9, at 9-10
[attaching pages “8” and “9” of Tineo’s Depo. Tr.].) As a result, the Court has amended
Paragraph 29 of Defendant’s Rule 7.1 Statement accordingly.
27
        The Court has amended Paragraph 30 of Defendant’s Rule 7.1 to more reflect the
portion of the record cited. (Dkt. No. 14, Attach. 7, at 63-64 [attaching pages “62” and “63” of
Plf.’s Depo. Tr.].) Although Plaintiff denies the fact asserted by Defendants, he does not support
that denial with a record citation. Nor can the Court find a citation to such a denial in Plaintiff’s
Statement of Additional Facts in Dispute. While Plaintiff asserts in his deposition transcript two
other instance of what he characterizes as “racial” harassment (one in which Assistant
Commissioner Heisler described Plaintiff’s standards as “down here right now,” and one in
which Officer Cifaratta called him a “pretty big guy” who “should be able to take it”), neither of
those instances can rationally be characterized as racial in nature.

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park,” “fuck off,” and “honk if you like dick too” done in pictograms were written on the truck.

       34.      After the pictures were taken, Plaintiff drove his truck to Delta Sonic to have the

drawings washed off his truck. Delta Sonic noticed scratches in the paint where the drawings

were located.

       35.      The matter was referred to Internal Affairs Lt. Kearney for investigation. On

February 8, 2014, Plaintiff submitted a report to Lt. Kearney indicating that CO Emm had made a

comment to him on February 7, 2014, about his parking, and that his truck had damage that

would cost Plaintiff $91.79 to repair. On February 9, 2014, Lt. Kearney asked Plaintiff if he had

any more information concerning the day the truck was written on and Plaintiff advised Kearney

that Emm would admit to doing the drawings if he was questioned. Plaintiff submitted a report to

Kearney regarding same. Plaintiff also indicated that he would be satisfied and not pursue the

matter any further if Emm would reimburse Plaintiff the $91.79.

       36.      Plaintiff admits that it was his own decision not to press charges because he did

not want to see a friend or co-worker arrested despite the Department Administration wanting

Plaintiff to press criminal charges against Emm.

       37.      On February 12, 2014, Plaintiff reiterated that he merely wanted reimbursement

for the cost of repairs to his truck, and that he did not want to pursue charges.

       38.      On February 12, 2014, Emm admitted to having drawn on Plaintiff's vehicle, and

that it was done as a joke. Emm was trying to be funny when he wrote on Plaintiff's truck. They

were friends. Emm was telling Plaintiff that he parked like a “dick.”

       39.      By memo dated February 14, 2014, Lt. Kearney advised PAC of his investigation

into the incident and the findings of the investigation.


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       40.     Emm reimbursed Plaintiff the $91.79 for the cost of the repairs to his truck.

       41.     At no time before this litigation did Plaintiff indicate that he believed the

drawings or the aforementioned incident (in general) to be racially motivated, nor did Plaintiff

ever allege racial discrimination or racial harassment because of the incident. 28

       42.     On February 20, 2014, PAC reviewed the information received from Lt. Kearney

concerning Emm and the incident with Plaintiff's truck. PAC made a recommendation to

Commissioner Cowin that Emm should be served with a Notice of Charges for a one-day

suspension, and noted that Emm had reimbursed Plaintiff the $91.79. Commissioner Cowin

made the determination to serve Emm with a Notice of Charges with a one-day suspension

without pay.

       43.     On April 18, 2014, Emm was served with a Notice of Charges for the February 7th

incident with Plaintiff's truck with a penalty of a one-day suspension without pay. Thereafter, the

Department was served with a Grievance Form, and the matter proceeded to a Step Two hearing

on June 12, 2014.

       44.     On June 12, 2014, a Step Two hearing was held on Emm's discipline. During the

hearing, Onondaga County Employee Relations Officer Cifaratta (hereinafter “Cifaratta”) noted

that Emm had initially denied the conduct when interviewed by the Department of Correction,

but had admitted to the conduct after speaking to his Union representative. Cifaratta also noted

that Emm had agreed to reimburse Plaintiff for the repairs to the vehicle. Emm advised that, if

Plaintiff had chosen to seek criminal charges for the damage, Emm' s career with the Department



28
       Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute.
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of Correction would have been jeopardized. Emm also advised that he did not intend to cause

damage to Plaintiff's vehicle.

       45.     By Notice of Step Two Decision dated June 17, 2014, Employee Relations Officer

Cifaratta decided that the matter should be considered a “teachable moment” and reduced the

penalty to a Written Reprimand.

       46.     Plaintiff admits that he does not know whether Emm was disciplined as a result of

drawing on Plaintiff's truck, and that he would not normally be told that information.

       47.     Unless told by the involved employee, officers at the Department of Correction

have no knowledge of the disciplinary history of any other officer.

                                       The First Termination

       48.     In May/June 2015, Plaintiff began dating a woman who moved in with him in

June 2015.

       49.     In mid-June 2015, Plaintiff learned that the woman whom he was dating was on

probation. Plaintiff did not advise the Department of Correction that he was involved in a

personal relationship with a probationer until approached by the Department of Correction. 29

       50.     Plaintiff admits that he signed the acknowledgment indicating that he fully

understood the Socialization policy in 2009, and that the Socialization Directive included people

on probation. 30

       51.     On July 8, 2015, Plaintiff called in sick for two days, and continued to do so for


29
       Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute.
30
       Although he partially denies this fact, Plaintiff does not support that partial denial with a
record citation. Nor can the Court find a citation to such a partial denial in Plaintiff’s Statement
                                                 20
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the next several days. Ultimately, Plaintiff provided doctor's notes which kept him out of work

until August 28, 2015.

       52.     On July 29, 2015, during a telephone call from Plaintiff to advise the Department

that he would be out until August 28, 2015, Romeo informed Plaintiff that he was not to be

working his secondary employment if he was unable to work at the Department of Correction.

Plaintiff admits that he assured Romeo that he was not working his secondary employment.

       53.     Plaintiff admits that he was aware that the secondary employment policy included

a term that he was to do none of his secondary employment while out on sick leave from the

Department of Correction, and Plaintiff admits that when Romeo orally advised Plaintiff that he

was not to engage in his secondary employment he understood those directions.

       54.     On August 4, 2015, the Department of Correction received information that

Plaintiff was involved in a personal relationship with a female who was on probation with the

Onondaga County Probation Department. Additionally, the Department learned that Plaintiff

might be working his secondary employment while out on extended medical leave. Because these

allegations would be clear violations of the Department's Socialization Directive and Secondary

Employment Directive, the matter was referred to Internal Affairs Lt. Kearney for investigation.

       55.     During the course of the investigation, Lt. Kearney learned that Plaintiff was

living with the female probationer, that she was to be on probation until October 2016, and that

Plaintiff had spoken to her probation officer on, at least, two occasions in June 2015 to express

concerns he had about the probationer. Plaintiff never notified the Department, as he was

required to do so pursuant to the socialization policy, that he was in a personal relationship with a



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probationer. 31

        56.       Plaintiff admits that he did have contact with the probation officer of the woman

whom he had been dating when he learned the woman was on probation. 32

        57.       Plaintiff physically returned to work on August 30, 2015, as August 28, 2015, and

August 29, 2019, were his pass days (days off).

        58.       On September 2, 2015, Lt. Kearney interviewed Plaintiff regarding the allegations

that had been made. Plaintiff admitted to living with the probationer, whom Plaintiff identified as

his fiancée (although their relationship was on-and-off). Plaintiff stated that he was not initially

aware that she was on probation, but admitted that he did learn of her probation status in the

second week of June and that he had contacted her probation officer. Plaintiff stated that he did

not notify the Department per the socialization policy because he was out of work at the time.

When it was pointed out that he was still required to report the relationship, and that he had been

back to work for a few days, Plaintiff stated he did not understand the policy and did not know he

could not live with someone on probation. Plaintiff also admitted that he had engaged in

activities for his secondary employment (monitoring jobs for progress and safety for about four

hours per week), while he was on medical leave from the Department of Correction. 33


31
       Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute.
32
       Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute.
33
       Although he partially denies this fact, Plaintiff does not support that partial denial with a
record citation. Nor can the Court find a citation to such a partial denial in Plaintiff’s Statement
of Additional Facts in Dispute.

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       59.     By memo dated September 3, 2015, Lt Kearney submitted his investigation

findings, and the statements that were taken, to Commissioner Cowin and Capt. Brush.

       60.     At a meeting, on or about September 10, 2015, PAC reviewed the reports

submitted by Lt. Kearney concerning his investigation into Plaintiff's alleged violations of the

socialization and secondary employment policies. PAC recommended to Commissioner Cowin

that Plaintiff be served with a Notice of Charges with the penalty of termination due to his clear

violations of the Socialization and Secondary Employment Directives.

       61.     On September 15, 2015, Plaintiff arrived late for his shift because his fiancée had

been arrested for a violation of probation, and was being held at the Onondaga County Justice

Center. Plaintiff had gone to visit his fiancée at the Justice Center and to arrange for her to have

an attorney. Plaintiff then went to his fiancée’s arraignment. Plaintiff submitted a report dated

September 15, 2015, explaining why he was late for his shift.

       62.     The Onondaga County Probation Department notified the Department of

Correction that Plaintiff’s fiancée had driven his vehicle to her probation appointment, despite

not having a valid driver's license. The Probation Department further told the Department of

Correction that Plaintiff was aware that his fiancée did not possess a valid driver's license. 34

       63.     On September 17, 2015, the name of Plaintiff’s fiancée appeared on a list of

inmates being transferred from the Justice Center to the Department of Correction. Because of

Plaintiff’s relationship with the inmate, Security Capt. Brush contacted the Justice Center and



34
       Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute. The Court notes that whether or not Plaintiff’s vehicle was taken without his
acknowledgment is immaterial to the fact asserted above. The Court notes further that the
summary judgment procedure involves the disputation of asserted facts, not the disputation of
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requested that the fiancée be placed on administrative restriction so that she would not be housed

at the Department of Correction.

        64.      Plaintiff’s fiancée was sentenced to 90 days in jail in full satisfaction of her

probation term, which she spent at the Justice Center, and was released without further probation.

        65.      Commissioner Cowin made the determination that Plaintiff would be served with

a Notice of Charges with the penalty of termination.

        66.      On September 17, 2015, Plaintiff was served with a Notice of Charges with the

penalty of termination. The Notice of Charges specified three charges: (1) a charge that, during

his medical leave, Plaintiff was specifically advised by Romeo not to engage in his secondary

employment and Plaintiff assured Romeo that he would not, but that upon his return Plaintiff

admitted that he had “had done some work” in his secondary employment during that medical

leave; (2) a charge that Plaintiff had become involved in a personal relationship with a

probationer and was engaged to be married but had failed to notify the Department of this

relationship despite having worked for at least two weeks after learning of her probation status,

and having been back to work without notifying the Department until he was questioned about it,

and initially stating he did not notify the Department because he was out of work, then stating it

was because he did not understand the policy; and (3) a charge that Plaintiff allowed his

probationer fiancée to drive his vehicle despite being aware that she did not possess a valid

driver's license. 35


implied facts. See Yetman, 2015 WL 4508362, at *10 (citing authorities).
35
       Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute.

                                                   24
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        67.        Plaintiff returned to work after receiving the Notice of Charges.

        68.        Thereafter the Department was served with Plaintif’s Grievance Form dated

September 17, 2015.

        69.        On September 23, 2015, a Step Two hearing was held with Employee Relations

Officer Cifaratta. Following the hearing, Plaintiff was suspended without pay and escorted from

the building. 36

        70.        By Notice of Step Two Decision dated October 7, 2015, Cifaratta upheld the

Notice of Charges and the penalty of termination. Cifaratta found that it would have been

reasonable for Plaintiff to report his relationship with the probationer before he returned to work

from his medical leave, and that to the extent he argued that he did not understand the policies of

the Department of Correction, he could have asked for clarification. It was Cifaratta's opinion

that Plaintiff was not taking responsibility for his own conduct, and that he did not care enough

to understand or follow the Department's policies.

        71.        At no time during the course of the September 23, 2015, Step Two hearing did

Plaintiff make any statements alleging he was being discriminated against or harassed by anyone

because of his race or for any other reason.

        72.        By letter dated October 13, 2015, Commissioner Cowin advised Plaintiff that,

based on the Notice of Step Two Decision, Plaintiff was terminated effective September 23,

2015.



36
        Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute. Again, the Court notes that the summary judgment procedure involves the disputation of
asserted facts, not the disputation of implied facts. See Yetman, 2015 WL 4508362, at *10
(citing authorities).
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         73.   On March 8, 2016, William J. Hanna, III, was appointed Commissioner of the

Department of Correction.

         74.   Plaintiff is not the only Department of Correction employee to have been

disciplined for a violation of the Socialization Directive for failing to report a contact or

relationship to the Department. Pursuant to the Socialization Directive, each case of contact

reported to the Department pursuant to the Socialization Directive is reviewed on a case-by-case

basis.

         75.   Since Plaintiff’s initial hiring date in September 2009, there have been three other

officers who, at least in part, violated the socialization policy. In 2010, a Caucasian female

voluntarily resigned during an investigation into her residing with a former inmate and

allegations that her relationship with that former inmate began while she was still an inmate.

Although the officer tried to rescind her resignation, the request to rescind was denied and the

resignation remained in effect. In 2011, a Middle-Eastern male was investigated for numerous

criminal charges, as well as violations of Department of Correction Directives and County Work

Rules, including having an inappropriate relationship with an inmate and the inmate's family.

When questioned by law enforcement concerning his alleged conduct, he submitted his

resignation to the Department. In 2014, a Caucasian male was served with a Notice of Charges

for several violations of Department and County policy, including excessive absenteeism, failure

to verify sick leave, knowingly associating with a parolee without advising the Department, and

failing to report a police contact which occurred while he was associating with the parolee. The

Department of Correction assessed a penalty of immediate discharge from employment. During

the grievance procedure, the officer came to a Last Chance Agreement with Employee Relations


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Officer Cifaratta which reduced his termination to a 20-day working unpaid suspension and a

three- year special evaluation period under certain terms, which if violated would result in his

immediate termination. The Department is not aware of any other violations of the Socialization

Directive during the time period since Plaintiff became a permanent employee.

       76.     In addition to the three officers who have been charged with violations of the

Socialization policy since Plaintiff became an employee, several other officers have been

disciplined for violations of the Socialization Directive. In 2002, an African-American female

received a 30-day unpaid suspension for residing with a former inmate. A Step Two Decision

reduced the penalty to one month (20 working days) unpaid suspension which was upheld by an

Arbitrator. Also in 2002, an African-American female was discharged from employment with the

Department for residing with a parolee. A Step Two Decision upheld the termination from

employment, and the officer came to a settlement agreement with the Department, in lieu of

arbitration, in which she resigned and retired from the Department. Additionally, in 2002, a

Caucasian male received the penalty of termination for associating with a former female inmate

within days of her release from the Department. After being terminated, the officer resigned his

position. In 2004, a Caucasian male received the penalty of termination for engaging in a

personal relationship with a female inmate during the time she was incarcerated as well as after

she was released. As the result of an arbitration decision, the officer was reinstated to his

position, but was required to submit quarterly documentation of treatment for a condition the

Arbitrator found may have led to the officer's conduct. In 2005, a Hispanic female reached a

Settlement Agreement in which she resigned from her position as a result of charges involving a

violation of the Socialization Directive. Finally, in 2006, a Caucasian male was assessed the


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penalty of a 10-working-day suspension without pay for engaging in telephone contact with a

former female inmate.

        77.         Plaintiff admits that his belief that no one has ever been fired for violating the

socialization policy is based on facility gossip.

                                          The First Reinstatement

        78.         Plaintiff sought an arbitration of his termination, and on June 7, 2016, and June

27, 2016, an Arbitration hearing was held regarding Plaintiff's charges and termination. By

Opinion and Award dated August 5, 2016, the Arbitrator found that Plaintiff had engaged in the

conduct in Specification 1 concerning the alleged violation of the Secondary Employment

Directive, but that the alleged conduct did not constitute misconduct. The Arbitrator found that

Plaintiff had engaged in the conduct in Specification 2 concerning the alleged violation of the

Socialization Directive and certain County Work Rules, and that the alleged conduct constituted

misconduct. However, the Arbitrator determined that the penalty of termination was not

appropriate. Instead, the Arbitrator determined that the appropriate penalty would be a

suspension without pay, with reinstatement without back pay within 15 days of the date of the

Award. Finally, the Arbitrator determined that Plaintiff had not engaged in the conduct alleged in

Specification 3 concerning knowingly allowing the probationer to drive his vehicle without a

valid license. 37

        79.         Plaintiff returned to work at the Department of Correction within the fifteen days


37
       Although he partially denies this fact, Plaintiff does not support that partial denial with a
record citation. Nor can the Court find a citation to such a partial denial in Plaintiff’s Statement
of Additional Facts in Dispute. Again, the Court notes that summary judgment procedure
involves the disputation of asserted facts, not the disputation of implied facts. See Yetman, 2015
WL 4508362, at *10 (citing authorities).

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allotted by the Arbitrator, in August 2016, although he did not have the same days off as before

his termination.

        80.     Other officers had days off changed during Plaintiff’s absence (although Plaintiff

claims those changes were under circumstances different from those of Plaintiff); and it is not

unusual to have shifts changed or pass days changed. 38

        81.     Plaintiff was served with a Counseling Memorandum dated December 10, 2016,

for excessive absenteeism. Plaintiff refused to sign the memorandum because he claimed one of

the dates was incorrect and he had taken that day as a vacation. By memo dated December 12,

2016, Romeo presented Plaintiff with his Request for Leave form that he had submitted seeking

to use sick leave for the day in question. 39

        82.     It is not uncommon for Department of Correction employees to refuse to sign

Counseling Memoranda, and the failure to sign is not a disciplinary issue.

        83.     Thereafter, Romeo questioned the Watch Commander who had signed the Leave

form. The Watch Commander advised that, although she did sign the Leave form stating it was

sick leave, she believed it should have been for vacation leave. As a result, Romeo removed the

one date in question from the Counseling Memorandum.


38
        Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute. Again, the Court notes that the summary judgment procedure involves the disputation of
asserted facts, not the disputation of implied facts. See Yetman, 2015 WL 4508362, at *10
(citing authorities).
39
        Although he denies this fact, Plaintiff does not support that denial with a record citation.
Nor can the Court find a citation to such a denial in Plaintiff’s Statement of Additional Facts in
Dispute. Again, the Court notes that the summary judgment procedure involves the disputation of
asserted facts, not the disputation of implied facts. See Yetman, 2015 WL 4508362, at *10
(citing authorities).

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                                     The Second Termination

       84.     On December 13, 2016, there was a discrepancy with the facility inmate count

that is required to be performed at the end of each shift. More specifically, the discrepancy

occurred with regard to the count required to be performed during the shift change from B-Watch

to C-Watch at 3:30 p.m. in Unit 9. After an investigation, the Department issued a memorandum

stating, in part, “It was determined that the problem was with the count entered by the B watch

Unit 9 officer. At approximately [3:27 pm.], CO Stamm entered Unit 9 and relieved CO Cooper,

therefore Stamm was the B watch officer responsible for conducting the [3:30 p.m.] count for

Unit 9.” The inmate count was finally verified at 3:52 p.m. 40

       85.     Plaintiff describes the procedure of doing an inmate count as walking around a

housing unit counting each inmate individually and then logging the count in an electronic

logbook. 41

       86.     On December 13, 2016, Plaintiff relieved another officer in Unit 9, an

open-dormitory style unit with 45 bunks. The officer Plaintiff was relieving advised Plaintiff that

she had been working on four inmates’ “blue cards” (which describe the inmates’ housing


40
        The Court has amended Paragraph 84 of Defendant’s Rule 7.1 to more reflect the
portion of the record cited. (Dkt. No. 14, Attach. 3, at ¶ 49 [Romeo Aff.]; Dkt. No. 14, Attach.
49, at 2 [attaching Dept. memo dated Dec. 19, 2016].) Although Plaintiff denies the fact asserted
by Defendants, he does not support that denial with a record citation. Nor can the Court find a
citation to such a denial in Plaintiff’s Statement of Additional Facts in Dispute. While Plaintiff
disagrees that he was the sole officer responsible for the count because CO Cooper was also
responsible, that disagreement in no way controverts the above-stated fact, which regards what
the Department concluded.
41
        The Court has amended Paragraph 85 of Defendant’s Rule 7.1 to more reflect the
portion of the record cited. (Dkt. No. 14, Attach. 7, at 121-2s [attaching pages “120” and “121”
of Plf.’s Depo. Tr.].) Although Plaintiff denies the fact asserted by Defendants, he does not
support that denial with a record citation. Nor can the Court find a citation to such a denial in
Plaintiff’s Statement of Additional Facts in Dispute.
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conditions) and that she had not finished. Plaintiff advised that he would finish them for her, and

the officer left the unit. No one had done a count. 42

        87.     While Plaintiff was completing the relieved officer's task, he walked through the

unit and took a count, including contacting visitation to determine how many of the Unit 9

inmates were at visitation.

        88.     Plaintiff continued attempting to finish the relieved officer's task, and two more

officers, one being a trainee, entered the unit to relieve Plaintiff.

        89.     Plaintiff directed the incoming officers to go ahead and do the count while he was

completing the blue card work that he had assumed from the relieved officer. 43

        90.     Plaintiff admits that, if an officer is relieving another officer, and a formal count is

required, then both officers are supposed to count.

        91.     After doing a walk-through count, the trainee officer gave his count to Plaintiff

who stated it was not the correct number. Thereafter, Plaintiff conducted a walk-through count

with the other two officers and came up with the same incorrect number. 44



42
        The Court has amended Paragraph 86 of Defendant’s Rule 7.1 to more reflect the
portion of the record cited. (Dkt. No. 14, Attach. 7, at 123-26 [attaching pages “122” to “125”
of Plf.’s Depo. Tr.].) Although Plaintiff denies the fact asserted by Defendants, he does not
support that denial with a record citation. Nor can the Court find a citation to such a denial in
Plaintiff’s Statement of Additional Facts in Dispute.
43
        The Court has amended Paragraph 89 of Defendant’s Rule 7.1 to more reflect the
portion of the record cited. (Dkt. No. 14, Attach. 7, at 126-27 [attaching pages “125” and “126”
of Plf.’s Depo. Tr.].) Although Plaintiff denies the fact asserted by Defendants, he does not
support that denial with a record citation. Nor can the Court find a citation to such a denial in
Plaintiff’s Statement of Additional Facts in Dispute.
44
        Although Plaintiff denies the fact asserted by Defendants, he does not support that denial
with a record citation. Nor can the Court find a citation to such a denial in Plaintiff’s Statement
of Additional Facts in Dispute.
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        92.    Eventually two more officers joined them, and over the course of 20 minutes and

12-13 counts, the five officers, including Plaintiff, finally came to the correct count.

        93.    Upon leaving the unit, Plaintiff blamed the officer whom he had relieved for the

confusion regarding the count, and advised the oncoming officers to review that officer's work

before letting the inmates out of lock-in.

        94.    Plaintiff went to the Watch Commander's Officer and advised Sgt. Moltz that the

officer he had relieved had caused the wrong count in Unit 9 due to things she had done earlier

that day. 45

        95.    Sgt. Moltz advised Plaintiff that he would talk to the Watch Commander and let

Plaintiff know if he needed to write a report.

        96.    Plaintiff then entered staff dining and continued venting to another officer about

what happened when Sgt. Brinson entered and asked Plaintiff who did the count with him.

        97.    Plaintiff admits that he was still venting when he responded to Sgt. Brinson in a

loud voice, “Listen, if I have to write a report for this, I’m going--Cooper’s--I’m going to throw

Cooper under the bus. I just came back from something, and I’m not going to get penalized for,

and the count was all fucked up.” 46



45
        The Court has amended Paragraph 94 of Defendant’s Rule 7.1 to more reflect the
portion of the record cited. (Dkt. No. 14, Attach. 7, at 129-30 [attaching pages “128” and “129”
of Plf.’s Depo. Tr.].) Although Plaintiff denies the fact asserted by Defendants, he does not
support that denial with a record citation. Nor can the Court find a citation to such a denial in
Plaintiff’s Statement of Additional Facts in Dispute.
46
        The Court has amended Paragraph 97 of Defendant’s Rule 7.1 to more reflect the
portion of the record cited. (See, e.g., Dkt. No. 14, Attach. 7, at 130-31 [attaching pages “129”
and “130” of Plf.’s Depo. Tr.].) Although Plaintiff denies the fact asserted by Defendants, he
does not support that denial with a record citation. Nor can the Court find a citation to such a
denial in Plaintiff’s Statement of Additional Facts in Dispute.
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        98.     Plaintiff admits that he was heated during the exchange, that he was talking

loudly, that he was talking with his hands, and that he used the term “fucked up” and other such

language while talking to Sgt. Brinson.

        99.     Plaintiff admits that another officer intervened, told Plaintiff that it was not the

right place and went with Plaintiff to the men's locker room.

        100.    Plaintiff admits that he was yelling or talking loudly in the locker room with the

other officer present, but that he did not yell directly at Sgt. Brinson.

        101.    Sgt. Brinson reported the incident to her supervisor, and Plaintiff was thereafter

escorted to Assistant Commissioner Heisler's office where he was informed that there was going

to be an investigation, and then he was escorted to the front door of the building. 47

        102.    Because Plaintiff had already worked a full shift on December 13, 2016, he was

given no additional leave for that day. Plaintiff was placed on paid Administrative Leave, which

was leave with pay, beginning on December 14, 2016.

        103.    The entire incident on December 13, 2016, was thereafter referred to Internal

Affairs Lt. Kearney for investigation. Lt. Kearney and Sgt. Brinson interviewed several witnesses

to both the inmate count issue and the incident; and Lt. Washington reviewed the video tape of

the inmate count.

        104.    The video of Unit 9 and log entries indicated that Plaintiff took an inmate count at

3:30 p.m. but failed to enter the count into the log. When the officers relieving Plaintiff entered

the unit, Plaintiff was on the phone, and did not join in the inmate count with them as required by



47
        Although Plaintiff denies the fact asserted by Defendants, he does not support that denial
with a record citation. Nor can the Court find a citation to such a denial in Plaintiff’s Statement
of Additional Facts in Dispute.
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the Inmate Count Directive. The video further showed that Plaintiff joined the other officers for

some of the recounts, but not all, which was also in violation of the policy. Witnesses to the

incident with Sgt. Brinson also provided statements confirming Sgt. Brinson's question to

Plaintiff, and Plaintiff's behavior and responses to Sgt. Brinson. At one point during the

exchange, Sgt. Brinson advised Plaintiff that she would need a report because of his behavior, to

which Plaintiff replied, “No, no, I'm gonna need a fucking report.” Lt. Kearney then submitted a

report, statement and records to Commissioner Hanna, by memo dated December 19, 2016. 48

       105.    The matter was reviewed by PAC, which (given Plaintiff’s insubordinate behavior

towards Sgt. Brinson) made the recommendation of Notice of Charges with a penalty of

termination to Commissioner Hanna. Violations of the Inmate Count Directive have in the past

resulted, and currently still do result, in disciplinary proceedings. However, Plaintiff’s violation

of the Inmate County Directive was not the basis for the recommendation of his termination.

Rather, the termination recommendation was made based upon Plaintiff's unprovoked

insubordinate behavior towards Sgt. Brinson, and his disciplinary history. Because the two

incidents had occurred on the same date and were related, the recommendation was to include

both charges in the Notice of Charges.

       106.    Thereafter, Commissioner Hanna made the determination to serve Plaintiff with a

Notice of Charges with the penalty of termination.

       107.    On December 20, 2016, Plaintiff was served with the Notice of Charges with the

penalty of immediate discharge for the incidents on December 13, 2016. The Notice of Charges



48
        Although Plaintiff denies the fact asserted by Defendants, he does not support that denial
with a record citation. Nor can the Court find a citation to such a denial in Plaintiff’s Statement
of Additional Facts in Dispute.
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specified two charges: one charge of failing to follow the policies and procedures for counting

inmates, and one charge of insubordination to Sgt. Brinson. The Notice of Charges listed several

Department policies and County Work Rules which were violated. Plaintiff was then

immediately suspended without pay.

        108.    On December 21, 2016, the Department received Plaintiff’s Grievance Form

regarding the Notice of Charges and sanctions imposed on December 20, 2016.

        109.    On December 23, 2016, Employee Relations Officer Cifaratta conducted a Step

Two hearing. During the hearing Plaintiff offered an explanation as to the reasons for the late

count and his failure to conduct the count according to the Departmental policy. In response to

the allegations concerning the Supervisor's question, Plaintiff alleged that the Sergeant was being

inappropriate. Plaintiff’s comments regarding the Sergeant's behavior were not supported by the

witness statements. 49

        110.    During the hearing of December 23, 2016, while offering an explanation of the

events of the day in question, Plaintiff stated that his co-workers were picking on him because of

the late count, making comments the nature of which were that, because of his late count, others

had to stay late.

        111.    Plaintiff admits that the comments being made by his co-workers regarding the

late count were done in the nature of hazing.

        112.    Cifaratta responded to Plaintiff’s statements about his co-workers hazing him for

the late count by saying, “Come on, you're a big guy, you can handle it,” and by saying that his


49
        Although Plaintiff denies the fact asserted by Defendants, he does not support that denial
with a record citation. Nor can the Court find a citation to such a denial in Plaintiff’s Statement
of Additional Facts in Dispute.

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co-workers picking on him for the late count should not ruin his day.

        113.    At no time during the course of the Step Two Hearing of September 23, 2015, did

Plaintiff ever state that he was being picked on because of his race, or that he was being

subjected to racial discrimination or harassment. Plaintiff’s race was never raised, in any manner,

during this Step Two hearing. 50

        114.    If Plaintiff had made any allegations concerning racial discrimination or

harassment, Cifaratta would have taken the appropriate steps and conducted an investigation into

those allegations. 51

        115.    By Notice of Step Two Decision dated December 23, 2016, Cifaratta upheld the

decision to terminate. Cifaratta's decision was based on his opinion that an officer of Plaintiff's

length of service knows that incoming and outgoing staff conduct the inmate count together, and

that Plaintiff failed to do that at least three times during the repeated inmate counts on the date in

question. However, Cifaratta found that his failure to properly conduct the inmate counts, alone,

would not be sufficient to impose the sanction of termination. In Cifaratta's further opinion,

Plaintiff’s inappropriate, disrespectful, argumentative and expletive-laced insubordinate behavior

to the Sergeant had no place in a department that is a paramilitary organization, or in any other

type of department. It was Plaintiff’s insubordinate behavior taken together with his employment


50
        Although Plaintiff denies the fact asserted by Defendants, he does not support that denial
with a record citation. Nor can the Court find a citation to such a denial in Plaintiff’s Statement
of Additional Facts in Dispute. The Court notes that, although Plaintiff testified during his
deposition that at the hearing Cifaratta made what Plaintiff perceived to be sexually-
discriminatory comment, this testimony does not constitute evidence that Plaintiff’s race was
raised, in any manner, during this Step Two hearing. (Dkt. No. 14, Attach. 7, at 135 [attaching
page “134” of Plf.’s Depo. Tr.].)
51
        Although Plaintiff denies the fact asserted by Defendants, he does not support that denial
with a record citation. Nor can the Court find a citation to such a denial in Plaintiff’s Statement
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history of failing to follow job instructions that resulted in Cifaratta's decision to uphold the

Department's penalty of termination.

         116.   Plaintiff was advised by letter dated December 27, 2016, from Commissioner

Hanna that he was terminated from employment effective December 23, 2016.

                            EEOC Complaint and Federal Court Action

         117.   In January 2017, on or prior to January 13, 2017, Plaintiff Kristopher Stamm filed

a Charge of Discrimination with the U.S. Equal Employment Opportunity Commission

(hereinafter “EEOC”) against the County alleging race and sex discrimination. By Notice of

Charge of Discrimination dated January 13, 2017, the County was noticed that the Charge had

been filed and that no action was required of the County. The County was never served with a

copy of the EEOC Charge of Discrimination.

         118.   On February 23, 2017, the EEOC issued a Dismissal and Notice of Rights letter.

The EEOC letter specifically stated, in part, that, “[b]ased upon its investigation, the EEOC is

unable to conclude that the information obtained establishes violations of the statutes.”

         119.   On May 24, 2017, Plaintiff filed a Complaint with a Jury Trial Demand in the

United States District Court for the Northern District of New York pursuant to Title VII

(hereinafter the “Complaint”). The Complaint named the County as the Defendant and alleged

one cause of action for racial discrimination. Plaintiff seeks compensatory and punitive damages

and injunctive relief.

         120.   On June 15, 2017, the County filed an Answer to Complaint and Demand for Jury

Trial.



of Additional Facts in Dispute.
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                                     The Second Reinstatement

        121.    An arbitration hearing was held on June 29, 2017, November 6, 2017, December

4, 2017, and January 25, 2018. The Arbitrator issued an Opinion and Award dated March 27,

2018, finding Plaintiff guilty of only a portion of Specification 1 regarding the inmate count, and

guilty of violating Department policy and County Work Rules in regard to his interactions with

Sgt. Brinson. The Arbitrator found that substantial discipline was justified given Plaintiff’s prior

poor disciplinary history, and his disrespect and refusal of a directive from a superior officer

which took place in front of other officers which cannot be tolerated as it undermines the respect

for the chain of command in a paramilitary organization. However, the Arbitrator determined the

penalty of termination was not appropriate, and determined the appropriate penalty would be a

suspension without pay to the date of the Opinion and Award to be the appropriate discipline.

Plaintiff was ordered re-instated to his position. 52

        122.    Romeo contacted Plaintiff by telephone on March 27, 2018, and told Plaintiff that

he could return to work on C-Watch on March 28, 2018. Plaintiff advised that he was not able to

return on that date, but that he could return on April 2, 2018. Romeo advised Plaintiff that he

might have to use leave accruals to cover the days he was unable to work, and Plaintiff indicated

he would prefer to use leave without pay, at which time Romeo explained that only the

Commissioner (the Chief Deputy) had the authority to allow leave without pay. Plaintiff never

submitted a written request for leave without pay, and his verbal request was denied. 53


52
        Although Plaintiff denies the fact asserted by Defendants, he does not support that denial
with a record citation. Nor can the Court find a citation to such a denial in Plaintiff’s Statement
of Additional Facts in Dispute.
53
        Although Plaintiff denies the fact asserted by Defendants, he does not support that denial
with a record citation. Nor can the Court find a citation to such a denial in Plaintiff’s Statement
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        123.     Because Plaintiff would not be returning to work when requested by the

Department of Correction, three vacation days were used to cover the days until he advised he

could return, and his pass days were changed from April 2 and 3 to March 31 and April 1 to

cover the additional days until Plaintiff’s return. The pass days were changed so that additional

leave accruals would not have to be used. 54

        124.     On April 11, 2018, Plaintiff submitted a tri-form concerning the loss of a baseball

jacket when he was terminated from employment in 2016. Plaintiff requested that the

Department purchase him a new jacket or reimburse him the cost of the jacket. After a thorough

and diligent search, such a jacket was not able to be located, nor was there any indication that

Plaintiff had actually owned such a jacket. The matter is still pending.

        125.     On April 12, 2018, Plaintiff submitted a Grievance Form regarding the use of

vacation time to cover the days when he alleged he was unable to return to work, and also

grieving his not being reinstated to the Response Team which he alleged was ordered per the

Arbitrator's award.

        126.     By memo dated April 12, 2018, Romeo advised Plaintiff that his grievance had

been denied. Romeo reminded Plaintiff of the telephone conversation on March 27th and stated

that the Arbitrator's award did not order his reinstatement to the Response Team. On April 18,

2018, the Department was served with a Grievance Form for a Step Two hearing. That matter is

still pending.


of Additional Facts in Dispute.
54
        Although Plaintiff denies the fact asserted by Defendants, he does not support that denial
with a record citation. Nor can the Court find a citation to such a denial in Plaintiff’s Statement
of Additional Facts in Dispute.

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        127.    Plaintiff admits that he is not aware of the Response Team policy's contents.

Plaintiff further admits he is not aware that there is a Response Team Review Board, or that the

Review Board reviews who should remain on the Response Team. Plaintiff also admits that he is

not aware of whether the Review Board is reviewing his reinstatement to the Team.

        128.    Plaintiff filed an Onondaga County Employee Harassment and Discrimination

Complaint Form with the Onondaga County Director of Employee Relations on or about April

14, 2018, regarding the Response Team issue and alleging harassment and retaliation. By email

dated April 16, 2018, Employee Relations Director Chaplin advised Plaintiff that he was

gathering information concerning his claims. The matter is still pending.

        129.    In late April 2018, Romeo was advised that the Union would be seeking

clarification from the Arbitrator regarding the re-instatement to the Response Team issue. That

matter is still pending.

        130.    On April 17, 2018, Plaintiff submitted a medical note indicating that he was not to

work more than 12 hours in a given day. By memo dated April 27, 2018, Plaintiff submitted a

memo indicating that he was ordered to work overtime on April 28, 2018, in excess of the

12-hour workday allowed by his medical provider, and that he was not declining overtime and

was willing to work the hours allowed by his doctor. 55

        131.    Plaintiff's medical excuse restricting him from working more than 12 hours in a

day has been honored (with two minor exceptions). More specifically, Plaintiff has not worked

more than 12 hours in a day since the receipt of the medical note with the exception of two days


55
        Although Plaintiff denies the fact asserted by Defendants, he does not support that denial
with a record citation. Nor can the Court find a citation to such a denial in Plaintiff’s Statement
of Additional Facts in Dispute.

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in which he worked 12.25 hours due to shift change overlap. If the Department needs someone

for 16 hours, they order the overtime, and it is then up to the officer to address any outstanding

restrictions they may have. Plaintiff has been ordered to work 16 hours since the note was

submitted, but Plaintiff has refused anything over the 12 hours. There have been no repercussions

to Plaintiff as a result of his 12-hour limitation. 56

        132.    All security staff members are informed prior to being hired that they may be

assigned to any shift or squad at any time depending upon the needs of the Department. On April

18, 2018, Plaintiff submitted a request for an emergency shift change. At least two other officers

also made emergency shift change requests within two weeks of Plaintiff’s request. All three

requests were being reviewed by the Department when, on April 30, 2018, Plaintiff filed a

Complaint with New York State Division of Human Rights regarding the issue of the shift

change. Plaintiff alleged that he was being discriminated against because of his status as a single

father. The matter is still pending. 57

        D.      Parties’ Legal Arguments on Defendant’s Motion

                1.      Defendant’s Memorandum of Law

        Generally, in support of its motion, Defendant asserts four arguments. (See generally Dkt.

No. 14, Attach. 69 [Def.’s Memo. of Law].) First, Defendant argues, Plaintiff’s claims arising

from events occurring before March 9, 2016, are barred by the applicable 300-day limitations


56
        Although Plaintiff denies the fact asserted by Defendants, he does not support that denial
with a record citation. Nor can the Court find a citation to such a denial in Plaintiff’s Statement
of Additional Facts in Dispute.
57
        Although Plaintiff denies the fact asserted by Defendants, he does not support that denial
with a record citation. Nor can the Court find a citation to such a denial in Plaintiff’s Statement
of Additional Facts in Dispute.

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period set forth by Title VII. (Id.) More specifically, Defendant argues, because the earliest that

Plaintiff could have filed his EEOC complaint was January 3, 2017, only events that occurred

within 300 days before that date (or on or after March 9, 2016) are actionable. (Id.) Moreover,

Defendant argues, the only way that Plaintiff can introduce evidence of incidents that occurred

before March 9, 2016, he must establish that those events and the timely events constitute a

“continuing violation.” (Id.) However, Defendant argues, he has failed to do this because there is

neither a specific policy or practice that caused the alleged discrimination nor a timely claim that

is continuous in time with the untimely claims. (Id.)

       Second, Defendant argues, the Court lacks subject-matter jurisdiction over all claims

other than those arising from events occurring between March 9, 2016, and January 3, 2017,

because he failed to exhaust his available administrative remedies with regard to those other

claims before filing suit. (Id.) More specifically, Defendant argues, in his EEOC complaint,

Plaintiff failed to present a claim reasonably related to either his current

hostile-work-environment claim or any claim arising from his September 2015 termination of

employment. (Id.) Moreover, Defendant argues, to the extent that Plaintiff now wants to assert

claims arising from events that occurred after his return to employment in April 2018, those

claims are not yet ripe to be heard because (a) none of those claims can be found to be reasonably

related to the claims presented in his January 2017 EEOC complaint, (b) he has not yet filed a

post-April 2018 EEOC complaint regarding the majority of those claims, and (c) any such EEOC

complaint is still pending. (Id.)

       Third, Defendant argues, regardless of whether his race-discrimination claim is limited to

events occurring between March 9, 2016, and January 3, 2017, Plaintiff cannot establish a


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race-discrimination claim. (Id.) More specifically, Defendant argues, Plaintiff cannot establish

the fourth element of such a claim (i.e., that that the adverse employment action occurred under

circumstances giving rise to an inference of unlawful discrimination), because the only

“evidence” he can offer in support of such a claim is his own subjective belief that the adverse

employment action he experienced was caused by his race. (Id.) Moreover, Defendant argues,

even if Plaintiff can establish that element, Defendant has articulated a legitimate

non-discrimination reason for the two unfavorable employment actions Plaintiff experienced: (1)

he was terminated in September 2015 because (a) he had violated the Socialization Directive by

engaging in a romantic relationship with a current probationer without reporting that fact, (b) he

had violated the Secondary Employment Directive by working at least four hours per week in a

secondary job while on medical leave, and (c) he had allowed his probationer fiancée to drive his

vehicle to a probation appointment despite the fact that she did not possess a valid driver’s

license; and (2) he was terminated in December 2016 because, after he had been responsible for

an inmate count that had been prolonged by 22 minutes because of a discrepancy, he had engaged

in insubordinate behavior toward his supervisor (who had directed him to write a report about the

incident), which behavior was exacerbated by his employment history of failing to follow job

instructions. (Id.) Finally, Defendant argues that, contrary to Plaintiff’s hearsay-based assertions,

in fact, no non-Asian similarly situated individuals were treated differently than was Plaintiff.

(Id.)

         Fourth, Defendant argues, similarly, Plaintiff cannot establish either element of a

hostile-work-environment claim. (Id.) More specifically, Defendant argues, Plaintiff cannot

establish that the workplace was permeated with discriminatory intimidation that was sufficiently


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severe or pervasive to alter the conditions of the workplace, because the actions he alleges (i.e.,

an incident involve a Sgt. Lee between 2012 and 2014, an incident involving writing on his truck

in 2014, a comment by Assistant Commissioner Heisler during a 2015 hearing, comments by

fellow officers regarding his late inmate count, a comment by Employment Relations Officer

Cifaratta during a 2016 hearing, and racially disparaging comments made by fellow officers)

were not severe or pervasive (and indeed were deemed by Plaintiff to in the spirit of “roasting” or

hazing), nor were some of the actions even based on his race. (Id.) Moreover, Defendant argues,

even if he could establish the above element, Plaintiff cannot establish that a specific basis exists

for imputing the conduct that created the hostile environment to the employer, because (a) the

alleged harassment by his co-employees was never known by, or reported to, his superiors, and

(b) while the alleged harassment by his supervisors creates a presumption of liability on the part

of Defendant, that presumption can be, and has been, rebutted through evidence that Defendant

exercised reasonable care to prevent and promptly correct such harassment (through maintaining

policies prohibiting it), and Plaintiff unreasonably failed to avail himself of any corrective or

preventative opportunities provided. (Id.)

               2.      Plaintiff’s Opposition Memorandum of Law

       Generally, in response to Defendant’s motion, Plaintiff asserts two arguments. (See

generally Dkt. No. 20 [Plf.’s Opp’n Memo. of Law].) First, Plaintiff argues, because he has

shown through his affidavit and exhibits that there exist several genuine disputes of material fact,

Defendant’s motion should be denied. (Id.)

       Second, Plaintiff argues, he has established a prima facie case of both race-based and

gender-based discrimination. (Id.) More specifically, Plaintiff argues, he has adduced admissible


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record evidence (i.e., his own deposition testimony and the deposition testimony of Officer

Emm) that his September 2015 termination was caused by his race. (Id.) In addition, he

argues, he has adduced admissible record evidence (i.e., his own deposition testimony and the

deposition testimony of Officer Tineo) that his December 2016 termination was caused by his

race. (Id.) Finally, he argues, he has adduced admissible record evidence (i.e., his own

deposition testimony, his own sworn statements, photographs of graffiti on his car, a cleaning

invoice, an admission by Officer Emm, the deposition of Officer Emm and the deposition of

Officer Tineo) that he was subjected to a hostile work environment based on both his race and

gender. (Id.)

                3.     Defendant’s Reply Memorandum of Law

       Generally, in reply to the Plaintiff’s response, Defendant asserts two arguments. (See

generally Dkt. No. 21, Attach. 1 [Def.’s Reply Memo. of Law].) First, Defendant argues, the

factual assertions in Plaintiff’s opposition papers are wholly conclusory in nature because they

rely on nothing more than citations to (a) inadmissible hearsay evidence, (b) inapposite portions

of the record, (c) sworn statements based on a lack of personal knowledge, (d) unsworn

allegations, (e) challenges to the veracity of sworn witnesses, and/or (f) his own self-serving

affidavit which improperly contradicts his prior deposition testimony. (Id.)

       Second, Defendant argues, Plaintiff’s Response to Defendant’s Statement of Material

Facts should be disregarded because it improperly contains only gratuitous argument and no

required record citations. (Id.)

II.    GOVERNING LEGAL STANDARDS

       A.       Legal Standard Governing Motion for Summary Judgment


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          Under Fed. R. Civ. P. 56, summary judgment is warranted if “the movant shows that

there is no genuine dispute as to any material fact and that the movant is entitled to a judgment as

a matter of law." Fed. R. Civ. P. 56(a). A dispute of fact is "genuine" if "the [record] evidence is

such that a reasonable jury could return a verdict for the [non-movant]." Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). 58 As for the materiality requirement, a dispute of fact is

"material" if it "might affect the outcome of the suit under the governing law . . . . Factual

disputes that are irrelevant or unnecessary will not be counted." Anderson, 477 U.S. at 248.

          In determining whether a genuine issue of material fact exists, the Court must resolve all

ambiguities and draw all reasonable inferences against the movant. Anderson, 477 U.S. at 255.

In addition, "[the movant] bears the initial responsibility of informing the district court of the

basis for its motion, and identifying those portions of the . . . [record] which it believes

demonstrate[s] the absence of any genuine issue of material fact." Celotex v. Catrett, 477 U.S.

317, 323-24 (1986). However, when the movant has met its initial burden, the non-movant must

come forward with specific facts showing a genuine issue of material fact for trial. Fed. R. Civ.

P. 56(a),(c),(e).

          Implied in the above-stated burden-shifting standard is the fact that, where a non-movant

willfully fails to respond to a motion for summary judgment, a district court has no duty to

perform an independent review of the record to find proof of a factual dispute. 59


58
        As a result, "[c]onclusory allegations, conjecture and speculation . . . are insufficient to
create a genuine issue of fact." Kerzer v. Kingly Mfg., 156 F.3d 396, 400 (2d Cir. 1998) [citation
omitted]. As the Supreme Court has explained, "[The non-movant] must do more than simply
show that there is some metaphysical doubt as to the material facts." Matsushita Elec. Indus.
Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 585-86 (1986).
59
          Cusamano v. Sobek, 604 F. Supp.2d 416, 426 & n.2 (N.D.N.Y. 209) (Suddaby, J.) (citing
cases).
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        Of course, when a non-movant willfully fails to respond to a motion for summary

judgment, "[t]he fact that there has been no [such] response . . . does not . . . [by itself] mean that

the motion is to be granted automatically." Champion v. Artuz, 76 F.3d 483, 486 (2d Cir. 1996).

Rather, as indicated above, the Court must assure itself that, based on the undisputed material

facts, the law indeed warrants judgment for the movant. Champion, 76 F.3d at 486; Allen v.

Comprehensive Analytical Group, Inc., 140 F. Supp.2d 229, 232 (N.D.N.Y. 2001) (Scullin, C.J.);

N.D.N.Y. L.R. 7.1(b)(3). What the non-movant's failure to respond to the motion does is lighten

the movant's burden.

        For these reasons, this Court has often enforced Local Rule 7.1(a)(3) by deeming facts set

forth in a movant's statement of material facts to be admitted, where (1) those facts are supported

by evidence in the record, and (2) the non-movant has willfully failed to properly respond to that

statement. 60

        B.      Legal Standards Governing Plaintiff’s Claims

                1.      Plaintiff’s Title VII Claim of Race Discrimination

        A race-discrimination claim under Title VII is analyzed under the three-step

burden-shifting standard set forth in McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973).

        As to the first step of this analysis, “[the plaintiff] bears the burden of establishing a

prima facie case of discrimination by showing [the following:] (1) [s]he belonged to a protected

class; (2) [s]he was qualified for the position [s]he held; (3) [s]he suffered an adverse




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        Among other things, Local Rule 7.1(a)(3) requires that the non-movant file a response to
the movant's Statement of Material Facts, which admits or denies each of the movant's factual
assertions in matching numbered paragraphs, and supports any denials with a specific citation to
the record where the factual issue arises. N.D.N.Y. L. R. 7.1(a)(3).
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employment action; and (4) that the adverse employment action occurred under circumstances

giving rise to an inference of discriminatory intent.” Tolbert v. Smith, 790 F.3d 427, 435 (2d Cir.

2015) (internal quotation marks omitted).

         If the plaintiff can prove all four elements, then the second step is triggered, which shifts

the burden of production to the defendant to come forward with a legitimate, non-discriminatory

reason for the challenged employment action. See Woodman v. WWOR-TV, Inc., 411 F.3d 69, 76

(2d Cir. 2005) (“A plaintiff's establishment of a prima facie case gives rise to a presumption of

unlawful discrimination that shifts the burden of production to the defendant, who must proffer a

legitimate, non-discriminatory reason for the challenged employment action.”).

         If the defendant comes forward with such a reason, then presumption of discrimination

drops out of the analysis, and the second step is triggered, which shifts the burden back to the

plaintiff to show, “without the benefit of the presumption, that the employer's determination was

in fact the result of racial discrimination.” Holcomb v. Iona Coll., 521 F.3d 130, 138 (2d Cir.

2008). More specifically, the plaintiff must demonstrate “by a preponderance of the evidence that

the legitimate reasons offered by the defendant were not its true reasons, but were a pretext for

discrimination.” Tex. Dep't of Cmty. Affairs v. Burdine, 450 U.S. 248, 253 (1981). As explained

by the Supreme Court, to demonstrate pretext, a plaintiff must show “both that the [employer's

offered] reason was false, and that discrimination was the real reason.” St. Mary's Honor Ctr. v.

Hicks, 509 U.S. 502, 515 (1993); see also Fisher v. Vassar Coll., 70 F.3d 1420, 1433 (2d Cir.

1995).

                2.      Plaintiff’s Title VII Hostile-Work-Environment Claim

         To establish a hostile work environment claim under Title VII, a plaintiff must show two


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things: (1) that the harassment was sufficiently severe or pervasive to alter the conditions of the

victim's employment and create an abusive working environment; and (2) that there exists a

specific basis for imputing the conduct creating the hostile work environment to the employer.

Alfano v. Costello, 294 F.3d 365, 373 (2d Cir. 2002). In this regard, the test may be described as

having both “objective and subjective elements: the misconduct shown must be ‘severe or

pervasive enough to create an objectively hostile or abusive work environment,’ and the victim

must also subjectively perceive that environment to be abusive.” Alfano, 294 F. 3d at 373

(quoting Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 [1993].)

        In determining whether the first requirement has been met, a court should look at the

totality of the circumstances. Alfano, 294 F.3d at 374. Factors that courts should examine include

“the frequency of the discriminatory conduct, its severity, whether it is physically threatening or

humiliating, or a mere offensive utterance, and whether it unreasonably interferes with an

employee's work performance.” Harris, 510 U.S. at 23. “Isolated acts, unless very serious, do not

meet the threshold of severity or pervasiveness.” Alfano, 294 F.3d at 374; see also Faragher v.

City of Boca Raton, 524 U.S. 775, 788 (1998) (“We have made it clear that conduct must be

extreme to amount to a change in the terms and conditions of employment.”).

        In determining whether the second requirement has been met, a court should remember

that, “if a plaintiff's supervisor is the alleged harasser, an employer will be liable if the supervisor

uses his actual or apparent authority to further the harassment, or if the supervisor was otherwise

aided in accomplishing the harassment by the existence of the agency relationship.” Tomka v.

Seiler Corp., 66 F.3d 1295, 1305 (2d Cir. 1995), abrogated on other grounds by Burlington

Indus., Inc. v. Ellerth, 118 S. Ct. 2257 (1998), and Faragher v. City of Boca Raton, 118 S. Ct.


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2275 (1998). “By contrast, where a low-level supervisor does not rely on his supervisory

authority to carry out the harassment, or a co-employee of the plaintiff is the alleged harasser, an

employer will generally not be liable unless the employer either [1] provided no reasonable

avenue of complaint or [2] knew of the harassment but did nothing about it.” Tomka, 66 F.3d at

1305.

        With regard to the requirement that the employer provide a reasonable avenue of

complaint, an employer that has a harassment policy provides a reasonable avenue for complaint.

See Torres v. Pisano, 116 F.3d 625, 636 (2d Cir. 1997) (“As the district court correctly

explained, Torres cannot impute liability to NYU on the ground that it did not provide a

reasonable opportunity to complain: ‘Torres does not seem to dispute that NYU provided a

reasonable avenue for complaint. She knew about NYU's written sexual harassment policy, but

did not file a complaint with any of the people designated to receive them.’”); Scoppettone v.

Mamma Lombardi’s Pizzico, Inc., 523 F. App’x 73, 75 (2d Cir. 2013) (“We agree with the

district court that Mamma Lombardi's provided a reasonable avenue for complaint: it had in

place a sexual-harassment policy indicating that an employee could speak to his or her

supervisor, the human resources manager, or the owner.”); cf. Brabson v. The Friendship House

of W. N.Y., 46 F. App'x 14, 17-18 (2d Cir. 2002) (“Here, the evidence adduced clearly proved

that Friendship House failed to provide a reasonable avenue for complaint. Friendship House had

no sexual harassment policy at the time of the incidents.”).

        With regard to the requirement that the employer do something about harassment of

which it has knowledge, the essence of this requirement is the reasonableness of the employer's

response to the plaintiff's complaints. Snell v. Suffolk County, 782 F.2d 1094, 1104 (2d Cir.1986)


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(“[W]e hold today that once an employer has knowledge of a racially combative atmosphere in

the workplace, he has a duty to take reasonable steps to eliminate it.”). As for whether a response

is “reasonable,” this assessment must be made from “the totality of circumstances.” Distasio v.

Perkin Elmer Corp., 157 F.3d 55, 65 (2d Cir. 1998). “Factors to be considered in this analysis are

the gravity of the harm being inflicted upon the plaintiff, the nature of the employer's response in

light of the employer's resources, and the nature of the work environment.” Distasio, 157 F.3d at

65. Other factors may include (1) the amount of time that elapsed between the notice and

remedial action, (2) whether the response taken comported with the employer's policies, (3)

whether the co-employees complained of were confronted and reprimanded, and (4) whether the

response ended the harassment. Perry v. Ethan Allen, Inc., 115 F.3d 143, 153-54 (2d Cir. 1997);

Finnerty v. William H. Sadlier, Inc., 176 F. App'x 158, 162 (2d Cir. 2006).

III.    ANALYSIS

        After carefully considering the matter, the Court grants Defendant’s motion for the

reasons stated in its memoranda of law. See, supra, Parts I.D.1. and I.D.3. of this Decision and

Order. To those numerous reasons, the Court adds only two points, which are intended to

supplement and not supplant those reasons.

        First, by failing to oppose Defendant’s first two arguments (i.e., those based on the statute

of limitations and failure to exhaust), Plaintiff has lightened Defendant’s burden with regard to

those arguments such that, in order for the arguments to succeed, they need possess only facial

merit. This is because, in this District, where a non-movant has willfully failed to respond to a

movant’s properly filed and facially meritorious memorandum of law, the non-movant is deemed

to have "consented" to the legal arguments contained in that memorandum of law under Local


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Rule 7.1(b)(3). 61 Stated another way, when a non-movant willfully fails to oppose a legal

argument asserted by a movant, the movant may succeed on the argument by showing that the

argument possess facial merit, which has appropriately been characterized as a “modest” burden.

See N.D.N.Y. L.R. 7.1(b)(3) (“Where a properly filed motion is unopposed and the Court

determined that the moving party has met its burden to demonstrate entitlement to the relief

requested therein, the non-moving party’s failure to file or serve any papers as this Rule requires

shall be deemed as consent to the granting . . . of the motion, as the case may be, unless good

cause is shown.”); Rusyniak v. Gensini, 07-CV-0279, 2009 WL 3672105, at *1, n.1 (N.D.N.Y.

Oct. 30, 2009) (Suddaby, J.) (collecting cases); Este-Green v. Astrue, 09-CV-0722, 2009

WL2473509, at *2 & n.3 (N.D.N.Y. Aug. 7, 2009) (Suddaby, J.) (collecting cases).

       Here, the Court finds that Plaintiff’s failure was willful because, at the time he filed his

response (and, indeed, at all times), he was proceeding by counsel, who (in order to be admitted)

certified that he read and understands the Court’s Local Rules of Practice. Moreover, the Court

finds that the above-referenced two arguments possess, at the very least, facial merit for the

reasons stated therein: they employ the correct standards and reasonably apply the law to the

facts. The Court notes that Defendant is correct that Plaintiff has not shown that the

continuing-violation doctrine applies in this case. See Quinn v. Green Tree Credit Corp., 159

F.3d 759, 766 (2d Cir. 1998) (“[A] continuing violation may be found where there is proof of



61
        See, e.g., Beers v. GMC, 97-CV-0482, 1999 U.S. Dist. LEXIS 12285, at *27-31
(N.D.N.Y. March 17, 1999) (McCurn, J.) (deeming plaintiff’s failure, in his opposition papers, to
oppose several arguments by defendants in their motion for summary judgment as consent by
plaintiff to the granting of summary judgment for defendants with regard to the claims that the
arguments regarded, under Local Rule 7.1[b][3]; Devito v. Smithkline Beecham Corp.,
02-CV-0745, 2004 WL 3691343, at *3 (N.D.N.Y. Nov. 29, 2004) (McCurn, J.) (deeming
plaintiff’s failure to respond to “aspect” of defendant’s motion to exclude expert testimony as “a
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specific ongoing discriminatory polices or practices, or where specific and related instances of

discrimination are permitted by the employer to continue unremedied for so long as to amount to

a discriminatory policy or practice.”) (internal quotation marks omitted), abrogated in part on

other grounds by Nat'l R.R. Passenger Corp. v. Morgan, 536 U.S. 101 (2002). As a result, the

only claims before the Court are those claims arising from events occurring between March 9,

2016, and January 3, 2017.

       Second, Plaintiff has failed to create a genuine dispute of material fact with regard to

either of his remaining claims arising from events occurring between March 9, 2016, and January

3, 2017 (and indeed with regard to any of his barred claims). With regard to his

race-discrimination claim arising from his termination in December of 2016, Plaintiff’s response

ignores the uncontroverted evidence that he was terminated not for bungling an inmate count but

for (1) engaging in insubordinate behavior toward his supervisor following that count, and (2)

failing to follow jobs instructions at various times before then. When one considers those

undisputed facts, one cannot rationally conclude, based on the current record, that there existed

any non-Asian similarly situated individuals who were treated more favorably than was Plaintiff.

       Finally, with regard to Plaintiff’s hostile-work-environment claim arising from events

occurring between March 9, 2016, and January 3, 2017, Plaintiff’s response ignores the

uncontroverted evidence that the only asserted harassment that he experienced during that time

consisted of the following: (1) his receiving disparaging comments (in the form of “hazing”)

from fellow officers regarding his apparent responsibility for a late inmate count; (2) his

receiving a callous comment about his size/age by Employment Relations Officer Cifaratta


concession by plaintiff that the court should exclude [the expert’s] testimony” on that ground).

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during a subsequent Step-Two hearing; (3) perhaps during the time in question (although this is

not clear) his being “roast[ed],” like everyone else, in the “staff dining” area; and (4) perhaps

during the time in question (although this is far from clear) his Asian heritage being remarked

upon by some people during Plaintiff’s and Officer Tineo’s mutual racial banter in the break

room. The first three such instances cannot rationally be found to have been based on Plaintiff’s

race. Moreover, the fourth instance cannot rationally be found to be severe or pervasive. In any

event, no grounds exist to impute this conduct to Defendant, especially given the existence of its

harassment policies and Plaintiff’s failure to subsequently avail himself of the policies’

reasonable avenue for complaint.

        For all of these reasons, Defendant’s motion is granted.

        ACCORDINGLY, it is

        ORDERED that Defendant’s motion for summary judgment (Dkt. No. 14) is

GRANTED; and it is further

        ORDERED that Plaintiff’s Complaint (Dkt. No. 1) is DISMISSED; and it is further

        ORDERED that the Clerk of the Court shall issue a Judgment for Defendant and close

this action.

Dated: March 1, 2019
       Syracuse, New York

                                              ______________________________________
                                              Hon. Glenn T. Suddaby
                                              Chief U.S. District Judge




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